Case 3:17-cv-00863-BTM-MDD Document 114 Filed 04/26/19 PageID.1696 Page 1 of 7


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  6 Attorneys for Defendant
    CAR-FRESHNER CORPORATION
  7 (erroneously sued as “CAR FRESHNER CO.”)
  8
  9
                                         UNITED STATES DISTRICT COURT
 10
                                   SOUTHERN DISTRICT OF CALIFORNIA
 11
 12 IBRAHIM NASSER d/b/a SERIOUS            Case No. 3:17-CV-00863 BTM (MDD)
    SCENTS (collectively and professionally
 13 known as “LITTLE GRENADE”).             [Hon. Barry Ted Moskowitz]
 14                                      Plaintiff,    RESPONSE TO ORDER TO SHOW
                                                       CAUSE (OSC) RE DISMISSAL OF
 15            vs.                                     PLAINTIFF SERIOUS SCENTS
 16 JULIUS SAMANN, LTD; CAR
    FRESHNER CO.; and ENERGIZER                        PER CHAMBERS, NO ORAL
 17 BRANDS II LLC; AMERICAN                            ARGUMENT UNLESS REQUESTED
                                                       BY THE COURT
 18 COVERS INC. (collectively,
    “Defendants”),
 19 alleges as follows:
 20                                      Defendants,   Action Filed: April 28, 2017
                                                       Trial Date: None Set
 21 Does 1-100
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      RESPONSE TO OSC RE DISMISSAL OF SERIOUS SCENTS
      4817-5055-4517v.2 0097958-000006
Case 3:17-cv-00863-BTM-MDD Document 114 Filed 04/26/19 PageID.1697 Page 2 of 7


  1
                  RESPONSE TO OSC RE DISMISSAL OF SERIOUS SCENTS
  2
                                         I. INTRODUCTION
  3
               On March 26, 2019, this Court ordered Plaintiffs to show cause why Plaintiff
  4
      Serious Scents should not be dismissed as a plaintiff. Specifically the Court ordered
  5
      briefing on the following questions:
  6
               (1) Whether the general rule that corporations may not appear pro se compels
  7
      dismissal of Serious Scents, see D-Bean Ltd. P’ship v. Roller Derby Skates, Inc.,
  8
      366 F.3d 972, 973–74 (9th Cir. 2004) (“It is a longstanding rule that corporations
  9
      and other unincorporated associations must appear in court through an attorney.”);
 10
      and
 11
               (2) Whether Serious Scents’ status as a dissolved corporation has any impact
 12
      on its standing to pursue pre-dissolution claims, see generally Cal. Corp. Code §
 13
      2010(a); Penasquitos, Inc. v. Superior Court, 53 Cal. 3d 1180 (1991). (Dkt. 97.)
 14
               On April 18, 2019, Plaintiffs filed a three-page response claiming that
 15
      Serious Scents is not represented by counsel in this litigation because it cannot
 16
      “afford” an attorney, but failing to address the questions raised by the Court.
 17
      Because Plaintiffs have failed to rebut longstanding case law holding that
 18
      corporations—dissolved or otherwise—cannot appear pro se, Serious Scents should
 19
      be dismissed.
 20
       II. SERIOUS SCENTS CANNOT BE REPRESENTED PRO SE AND MUST
 21                                        BE DISMISSED.
 22            A.        Supreme Court and Ninth Circuit Precedent Bars Corporations
                         From Appearing Pro Se.
 23
               “It has been the law for the better part of two centuries . . . that a corporation
 24
      may appear in the federal courts only through licensed counsel.” Rowland v.
 25
      California Men's Colony, 506 U.S. 194, 201–02 (1993). Following Supreme Court
 26
      precedent, the Ninth Circuit has long required corporations to appear in court
 27
      through an attorney. D-Beam Ltd. P’ship v. Roller Derby Skates, Inc., 366 F.3d
 28
                                                                             DAVIS WRIGHT TREMAINE LLP
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      4817-5055-4517v.2 0097958-000006
Case 3:17-cv-00863-BTM-MDD Document 114 Filed 04/26/19 PageID.1698 Page 3 of 7


  1 972, 974 (9th Cir. 2004) (“It is a longstanding rule that [c]orporations and other
  2 unincorporated associations must appear in court through an attorney.”); Licht v.
  3 Am. W. Airlines (In re Am. W. Airlines), 40 F.3d 1058, 1059 (9th Cir. 1994)
  4 (affirming order precluding non-attorney from appearing pro se on behalf of a
  5 business association); see also United States v. High Country Broad. Co., Inc., 3
  6 F.3d 1244, 1245 (9th Cir. 1993) (holding that corporation’s president and sole
  7 shareholder could not make “an end run” around the counsel requirement by
  8 intervening pro se rather than retaining counsel to represent the corporation).
  9            The OSC cited binding Supreme Court and Ninth Circuit precedent that bars
 10 corporations from appearing pro se, but Plaintiffs do not address it. Plaintiffs’
 11 failure to respond is a tacit concession that the cases bar a pro se appearance by
 12 Serious Scents. See, e.g., Silva v. U.S. Bancorp, No. 5:10-cv-01854-JHN-PJWx,
 13 2011 WL 7096576, *3 (C.D. Cal. Oct. 6, 2011) (plaintiff’s failure to oppose
 14 defendants’ motion amounted to a concession that his claim should be dismissed);
 15 Tatum v. Schwartz, No. Civ. S-06-01440 DFL EFB, 2007 WL 419463, *3 (E.D.
 16 Cal. Feb. 5, 2007) (explaining that a party “tacitly concede[d][a] claim by failing to
 17 address defendants’ argument in her opposition.”).
 18            Plaintiffs suggest that Serious Scents should be permitted to proceed pro se
 19 because it was previously sued in a separate litigation in 2013 by American Covers,
 20 Inc. (Dkt. 110 at ¶ 3) and in a TTAB proceeding in 2013 by Defendant Julius
 21 Sämann Ltd. (“JSL”) (id. at ¶ 4). As an initial matter, neither of those proceedings
 22 were related to or consolidated with the instant action, which Plaintiffs Nasser and
 23 Serious Scents initiated in 2017. In any event, case law does not present any
 24 exception to the bar on pro se corporate litigants for a “previously sued defendant.”
 25 United States v. Hagerman, 545 F.3d 579, 581 (7th Cir. 2008) (dismissing appeal of
 26 LLC defendant who failed to obtain counsel).
 27            Similarly unavailing is Plaintiffs’ contention that Serious Scents is “unable to
 28 afford an attorney” because its funds were depleted during prior litigation. (Id. at ¶
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      4817-5055-4517v.2 0097958-000006
Case 3:17-cv-00863-BTM-MDD Document 114 Filed 04/26/19 PageID.1699 Page 4 of 7


  1 9.) A purported inability to pay for counsel does not relieve a corporation of its
  2 obligation to obtain licensed attorneys to appear in litigation. E.g., Computerized
  3 Screening, Inc. v. Lifeclinic Int'l, Inc., 2012 WL 13069792, at *2 (D. Nev. Sept. 24,
  4 2012), report and recommendation adopted, 2012 WL 13069793 (D. Nev. Dec. 10,
  5 2012) (rejecting excuse that company had “no funds” for counsel and striking
  6 answer and counterclaims filed by pro se corporation).
  7            In summary, Serious Scents has offered no legitimate reason why it should
  8 not be dismissed for failing to obtain a licensed attorney to represent it in this action
  9 for the past 24 months. As a result, Serious Scents should be dismissed as a
 10 plaintiff.
 11            B.        Dissolved Corporations May Sue for Pre-Dissolution Conduct.
 12            Plaintiffs concede that Serious Scents was dissolved in 2017, prior to the
 13 filing of this litigation. (Dkt. 110 at ¶ 6 and Ex. 1.) The Court correctly observes
 14 that the dissolution of Serious Scents does not impede its ability to sue or defend
 15 claims regarding pre-dissolution conduct. (Dkt. 97 at 2-3, citing City of Rialto v.
 16 U.S. Dep’t of Def., 492 F. Supp. 2d 1193, 1198 (C.D. Cal. 2007) (“Dissolved
 17 corporations may be sued for both pre- and post-dissolution conduct.”); Race Safe
 18 Sys., Inc. v. Indy Racing League, 251 F. Supp. 2d 1106, 1108 (N.D.N.Y. 2003)
 19 (stating that where states provide “that a dissolved corporation may maintain a suit
 20 to collect its assets . . . the corporation will then have the capacity to sue in the
 21 federal courts even after dissolution”)).1
 22            As the Court observed in its OSC, however, “the rule that corporations
 23 generally may not appear pro se applies with equal force to dissolved corporations.”
 24 (Dkt. 97.) Thus, while it is true that Serious Scents’ status as a dissolved
 25 corporation does not independently bar it from pursuing litigation relating to pre-
 26
 27   1
     Plaintiffs’ reliance on Pensaquitos Inc. v. Superior Court, 53 Cal. 3d 1180, 1183
    (1991), is misplaced because that case addressed the ability to bring suits against
 28 dissolved  corporations for pre-dissolution activities. (Dkt. 110 at 2.)
                                                                          DAVIS WRIGHT TREMAINE LLP
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      4817-5055-4517v.2 0097958-000006
Case 3:17-cv-00863-BTM-MDD Document 114 Filed 04/26/19 PageID.1700 Page 5 of 7


  1 dissolution conduct, the prohibition on corporations representing themselves pro se
  2 still applies. (Id. at ¶ 7.)
  3                                      III. CONCLUSION
  4            For the foregoing reasons, plaintiff Serious Scents should be dismissed from
  5 this action for failing to obtain a licensed attorney to represent it. See Rowland, 506
  6 U.S. at 201–02; D-Beam, 366 F.3d at 974.
  7
  8 DATED: April 26, 2019                     DAVIS WRIGHT TREMAINE LLP
                                              SCOTT R. COMMERSON
  9
 10                                           By:        /s/ Scott R. Commerson
                                                           Scott R. Commerson
 11
                                                  Attorneys for Defendant
 12                                               CAR-FRESHNER CORPORATION
                                                  (erroneously sued as “CAR FRESHNER
 13                                               CO.”)
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      4817-5055-4517v.2 0097958-000006
Case 3:17-cv-00863-BTM-MDD Document 114 Filed 04/26/19 PageID.1701 Page 6 of 7


  1                                      CERTIFICATE OF SERVICE
  2            I certify that on April 26, 2019, RESPONSE TO ORDER TO SHOW
  3 CAUSE (OSC) RE DISMISSAL OF PLAINTIFF SERIOUS SCENTS was
  4 electronically filed with the Clerk of the Court using the CM/ECF system which
  5 will send electronic notification of such filing to the CM/ECF participant(s) noted
  6 below.
  7 KILPATRICK TOWNSEND & STOCKTON LLP
  8 NANCY L. STAGG (CA State Bar No. 157034)
    12730 High Bluff Drive
  9 Suite 400
 10 San Diego, CA 92130
    Telephone:(858) 350-6156
 11 Facsimile: (858) 350-6111
 12        Email: nstagg@kilpatricktownsend.com
 13
               I certify under penalty of perjury under the laws of the United States of
 14
      America that the foregoing is true and correct.
 15
 16
 17                                                    By:    /s/Scott R. Commerson
                                                                Scott R. Commerson
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      4817-5055-4517v.2 0097958-000006
Case 3:17-cv-00863-BTM-MDD Document 114 Filed 04/26/19 PageID.1702 Page 7 of 7


  1                                      PROOF OF SERVICE BY MAIL
  2        I am employed in the County of Los Angeles, State of California. I am over
    the age of 18 and not a party to the within action. My business address is Davis
  3 Wright Tremaine LLP, Suite 2400, 865 South Figueroa Street, Los Angeles,
    California 90017-2566.
  4
           On April 26, 2019, I served the foregoing document(s) described as:
  5 RESPONSE       TO ORDER TO SHOW CAUSE (OSC) RE DISMISSAL OF
    PLAINTIFF SERIOUS SCENTS by placing a true copy of said document(s)
  6 enclosed in a sealed envelope(s) for each addressee named below, with the name
    and address of the person served shown on the envelope as follows:
  7
      Plaintiff Ibrahim Nasser              Plaintiff Serious Scents
  8   Pro Se                                Pro Se
  9   Ibrahim Nasser                        Serious Scents
      P.O. Box 5626                         P. O. Box 5626
 10   Chula Vista, CA 91912                 Chula Vista, CA 91912
 11
 12        I placed such envelope(s) with postage thereon fully prepaid for deposit in the
    United States Mail in accordance with the office practice of Davis Wright Tremaine
 13 LLP, for collecting and processing correspondence for mailing with the United
    States Postal Service. I am familiar with the office practice of Davis Wright
 14 Tremaine LLP, for collecting and processing correspondence for mailing with the
    United States Postal Service, which practice is that when correspondence is
 15 deposited with the Davis Wright Tremaine LLP, personnel responsible for
    delivering correspondence to the United States Postal Service, such correspondence
 16 is delivered to the United States Postal Service that same day in the ordinary course
    of business.
 17
           Executed on April 26, 2019, at Los Angeles, California.
 18
 19  Federal I declare under penalty of perjury under the laws of the United
                       States of America that the foregoing is true and correct and that I
 20                    am employed in the office of a member of the bar of this Court at
                       whose direction the service was made.
 21
 22                             Myra Izzo
                                Print Name                          Signature
 23
 24
 25
 26
 27
 28
                                                                       DAVIS WRIGHT TREMAINE LLP
                                                    7                     865 S. FIGUEROA ST, SUITE 2400
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